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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

SECURITIES AND EXCHANGE                      )
COMMISSION,                                  )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Civil Action No. 12-12324-MLW
                                             )
BIOCHEMICS, INC., JOHN J. MASIZ,             )
CRAIG MEDOFF and GREGORY S.                  )
KRONING,                                     )
                                             )
                      Defendants.            )


      1-16-18 SUPPLEMENTAL JOINT REPORT OF THE PARTIES AND ADEC
              DIRECTED BY THE COURT'S 12-5-17 ORDER (Doc. #379)
                   & THE COURT'S 12-18-17 ORDER (Doc. #390)

       The Parties and ADEC submit this supplemental joint report as directed by Par. 3 of the

Court's December 5, 2017 Order (Doc. #379) and the Court's December 18, 2018 Order (Doc.

#390) as follows:

I.     RELEVANT PROCEDURAL HISTORY

       A.     Relevant Court Orders

              1.      December 5, 2017 Order

       In its December 5, 2017 Order the Court directed at par. 3 as follows:

       ADEC Private Equity Investments, LLC ("ADEC") shall confer with BioChemics and the
       SEC, and shall, by December 7, 2017, report regarding: (1) the prospects of monetizing
       the assets in dispute; and (2) the possibility of resolving their dispute without further
       action by the Court. If they are unable to resolve their dispute, the parties shall propose a
       schedule for future proceedings, including a briefing schedule on the issues of: (a)
       interpleader under 28 USC Section 1335; and (b) the court's authority to provide relief
       from the May 25, 2016 Modified Judgment (Docket No. 202).

       December 5, 2017 Order (Doc. #379).
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             2.      December 18, 2017 Order

      In its December 18, 2017 Order the Court directed as follows:

      In view of [the December 7 and 12 Reports], the date to propose a briefing schedule is
      hereby extended to January 15, 2018. Prior to that date, the parties shall confer
      concerning whether developments indicate that litigation should be stayed. If not, the
      approach and timetable proposed by ADEC appears reasonable.

December 18, 2017 Order (Doc. #390).

      B.     Relevant Joint Reports

             1.      December 7, 2017 Joint Report (Doc. #383)

      On December 7, 2017 the Parties and ADEC reported as follows:

      BioChemics has presented to the Commission and ADEC its plan to monetize the assets
      so that the obligations regarding payment of the Judgment and the obligation to ADEC
      are satisfied in full. The present obligations to the Commission ($17.3 Million) and
      ADEC ($7 Million) total approximately $24.3 Million. BioChemics informed the
      Commission and ADEC that an entity owned by the Trust is negotiating an agreement
      with a privately held company ("Company") for the use of the BioChemics technology
      that will commit the Company to pay $20.7 million in stages by October 1, 2018,
      beginning with $2 Million to be paid by December 28, 2017 into the Court Registry. In
      exchange for these payments, the Company will receive a non-exclusive license to use
      BioChemics technology for 2018. The technology being licensed will include intellectual
      property presently held by Inpellis.

      These prospective payments by the Company will be in addition to the $5 Million
      payment that will be paid into the Court as a result of the binding loan committment for
      the so-called "Licensing Opportunity" previously reported to the Court. In addition, as
      previously reported to the Court, a Trust entity will reserve a substantial interest in an
      entity making use of the license and therefore will be entitled to a stream of income for
      that use.

      These prospective payments from the Company, about which the Commission and ADEC
      were informed today, provide a potential opportunity for the resolution of the dispute that
      is the subject of ADEC’s motion to intervene by providing funds sufficient to repay the
      Commission and ADEC in full. The Parties and ADEC discussed whether these potential
      transactions may resolve the dispute without further Court action on ADEC’s motion.
      The Parties and ADEC have not yet come to a resolution on that issue, but will continue
      to have meetings and discussions on Monday, December 11. After having these further
      discussions, if the Parties and ADEC believe that a briefing schedule is needed, they will
      propose such a schedule to the Court on Tuesday, December 12, 2017.




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12-17-17 Joint Report (Doc. #383).

               2.      December 12, 2017 JOINT REPORT (Doc. #384)

       BioChemics reported as follows:

       Subsequent to the December 7, 2017 Joint Report, BioChemics has informed the

Commission and ADEC that an entity owned and controlled by the Trust has entered into an

Agreement with the private Company referred to in the Joint Report. BioChemics also informed

the Commission and ADEC that as a result of that Agreement, the Trust-controlled entity will

make a $2 Million payment on or before December 28, 2017 that the Trust will direct be paid

into the Court Registry on BioChemics’ behalf. Further, BioChemics informed the Commission

and ADEC that, pursuant to that Agreement, the Trust-controlled entity and the private Company

will make additional payments of $20.7 million in stages by October 1, 2018 and that the Trust

will direct that these additional payments shall be paid into the Court Registry.

       BioChemics also has agreed to continue to inform the Commission and ADEC, on a

weekly basis, the progress regarding these transactions, as well as the transactions regarding the

"License Opportunity" previously reported on that are scheduled to occur by or before December

28, 2017.

       In light of these prospective transactions, the opportunity that other transactions that are

ongoing may mature in the near term, and the fact that the Commission and ADEC will continue

to be informed of developments on a continuous basis, it is the position of BioChemics that the

efficient use of resources is best served by the postponement of the date on which the parties

shall propose a schedule for future proceedings, including a briefing schedule regarding the

issues identified by the Court, until January 15, 2017. BioChemics believes that the limited

hiatus in briefing will provide the Parties and ADEC an appropriate opportunity to evaluate




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further developments and assess the need for a briefing schedule without unduly delaying the

proceedings.

II.    JANUARY 16, 2018 JOINT REPORT

       A.      BioChemics

       As the Commission and ADEC know as detailed below, BioChemics did not make the

payments, both the $5 Million payment or the $2 Million payment by December 28, 2017.

However, as explained below, BioChemics has a reasonable basis to believe that the transactions

as contemplated will take place in the near term and that it will be able to make the payments

over the next three quarters as described in its December 12, 2017 Report.

       The reasons for this belief are as follows:

       As of the last quarter of 2017, the Trust through BioPhysics Labs LLC (BPL) a Trust

entity, has established two entities which have marketable products using the BioChemics

technology that are in the marketplace. One of the BPL entities has begun the manufacture and

sale of a transdermal delivery system for the application to the field covered by the so-called

"License Opportunity"; and the other BPL entity has a license agreement in place with a licensed

compounding pharmacy that is presently compounding and dispensing product by prescription

using the BioChemics technology. Both the License Opportunity product and the compounded

product have been well received and the interest generated by each of the products have resulted

in ongoing discussions with substantial parties in the respective fields that can result in the

payments and revenue streams detailed in BioChemics December 12, 2017 Report. The

compounded product has been described by certain well-experienced medical practitioners,

pleased with the initial success they are having, as potentially being a transformative treatment

modality that could have wide application to a range of conditions.




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       License Opportunity. Regarding the $5 Million payment for the use of the technology

for a limited purpose (the so-called "License Opportunity") the entity which gave the loan

committment was not able to obtain the funding in time for the deadline. However, because it

believes in the business opportunity, it has been in active discussions with the Trust to obtain that

funding and consummate the intended transaction. The entity that made the committment is

taking steps in good faith and demonstrating its intention to follow through on its committment

by making a payment in the amount of $100,000.00 to BPL for deposit into the Court Registry

and negotiating a private placement of the entity’s stock to fund the loan within the next 30 days.

That payment shall be made by BioChemics as soon as it is received from the entity.

        Compounded Product.

       Regarding the $2 Million payment, the BPL entity is in active discussions with potential

manufacturing partners interested in manufacturing this compounded product at scale regarding a

capital contribution that would allow the BPL entity to make the $2 Million payment as

described in the December 12, 2017 Report.

       BioChemics Payment.

       Because the payments due December 28, 2017 were not made, BioChemics is making a

payment into the Court Registry this date in the amount of $87,500.00. The payment was

calculated as one-twelth of a 15% annual interest rate on the $7 Million payment that was not

made as of December 28, 2017. This payment is in addition to the payment being made by the

entity that had made the committment.

       The Schedule.

       BioChemics believes that in light of the foregoing, that the litigation should not be further

delayed. BioChemics has a well-founded belief that it will perform in the near term, as




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previously intended, albeit tardy. While BioChemics and the Trust will continue, without delay,

all of its efforts to monetize its assets to satisfy the obligations of the Judgment and the ADEC

obligation, it will also work cooperatively with the Parties and ADEC to assure prompt and

efficient resolution of outstanding issues.

       B.      Commission and ADEC

       In light of the current status of BioChemics’ unpaid obligations, the Commission believes

that briefing should continue on ADEC’s pending motion. The Commission proposes that all

parties file briefs on Friday, February 2 to address the Court’s questions concerning interpleader

and the court’s ability to provide relief from the Modified Judgment, and related arguments that

were made at the last hearing. The Commission further proposes that all parties file briefs

responding to the other parties’ briefs on Tuesday, February 27, 2018. A hearing on ADEC’s

motion could then be scheduled at the Court’s convenience.

       ADEC concurs with the Commission’s proposed schedule.




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Dated: January 16, 2018

Respectfully submitted,

BioChemics:


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                      CERTIFICATE OF ELECTRONIC SERVICE


      I hereby certify that, on January 16, 2018 a true and correct copy of the foregoing
document was served on counsel for the Commission and ADEC by electronic service through
the CM/ECF.

Dated: January 16, 2018

Respectfully submitted,

BioChemics,
By its attorney

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